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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                    NORTHERN DIVISION

UNITED STATES OF AMERICA                              *

               v.                                     *       Criminal No.: TDC-20-0046

PAGE BOYD                                             *

                                              *   *   *   *   *

                           MOTION FOR DETENTION HEARING

       Now comes Page Boyd, by and through undersigned counsel, and respectfully requests a

detention hearing and to release Mr. Boyd to home detention with a suitable third-party

custodian in light of the intensifying COVID-19 pandemic and the unique vulnerability of pre-

trial detainees. In support of this motion, Mr. Boyd states the following:

       1.   Mr. Boyd is charged with Racketeering Conspiracy, in violation of 18 U.S.C.

            1962(d) and Conspiracy to Distribute Controlled Substances in violation of 21 U.S.C.

            846. His initial appearance was on February 10, 2020.

       2. On February 13, 2020, Mr. Boyd consented to detention. At that time, no suitable

            third party custodian could be located, and he could not return to his home because

            his fiancée, a co-defendant, had already been released and resided at that location.

       3. Subsequently, Mr. Boyd’s aunt, Tanya Fields, has expressed a willingness to serve in

            that capacity and allow Mr. Boyd to reside with her, subject to electronic home

            monitoring, while this matter is pending. Mr. Boyd submits that she would be a

            suitable third party custodian.

       4. Additionally, Mr. Boyd suffers from asthma. He has been struggling with that

            condition during his time at the DC jail where he is housed, and his concerns have
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          only been exacerbated with the coronavirus pandemic that is sweeping through the

          nation. The DC jail where he is housed is ill-equipped to handle his medical concerns

          appropriately. There is grave concern that, based on the crowded and poor conditions

          at this facility, his health concerns put him at a greater risk than the majority of the

          jail population and his health will continue to deteriorate.

       5. Consequently, Mr. Boyd now requests the Court’s audience to present arguments in

          support of various conditions of release that could be fashioned to reasonably assure

          his appearance for trial while still maintaining the interests of community safety.

       WHEREFORE, Mr. Boyd respectfully requests a detention hearing so he may

       articulate the reasons that he be granted reasonable conditions of release pending trial.




                                             Respectfully submitted,

                                             _______/s__________
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                                             Attorney for Mr. White


                                      CERTIFICATE OF SERVICE

               I hereby certify that on this 24th day of March, 2020, a copy of the foregoing
Motion for a Detention Hearing was electronically mailed to Burden Walker, Assistant United
States Attorney.
                                                          ________/s/______________
                                                          Christopher C. Nieto, Esq.
                                                          Attorney for Mr. Boyd
